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                                                                   ~~e}¿ 2 -~::\--2-D                                                 Ce<t.t-1AlL-
IN THE CIRCUIT COURT FOR Prince George's County                                                                                  T"q)
                                                                      ~T~~•T(~C~ltyorCouty) -rH,...,,,.......,,...,.             ~

                                                 DIRECTIONS
   Plaintiff: This Information Report must be completed and attached to the complaint filed with the Clerk of Co
   ess your case is exempted from the requirement by the Chief Judge of the Court of Appeals pursuant to Rule
2-11 l(a).
   Defendant: You must file an Information Report as required by Rule 2-323(h).
                 THIS INFORMATION REPORT CANNOT BE ACCEPTED AS A PLEADING
FORM FILED BY:           il PLAINTIFF O DEFEND ANT                          CASE NUMB ER __ ___,,=-=----,----,-------i
                                                                                                                       (Cleri< to insert )
CASE NAME: Daphne Cheeks                                                  vs. National Passenger Rail Corporation
                                         Plaintiff                                                          Defendan t



                                                                                  PHONE:                     -=:--.--...--,--------i
                                                                                                                (Daytim e phone)


 f represented by an attorney:
pARTY'S A TIORNEY'S NAME: David C.M. Ledyard                  PHONE:....,_(4_1_0<-
                                                                                ) 8_0_7_
                                                                                       -8_0_
                                                                                           77                                                --1
 ARTY'S A TIORNEY'S ADDRESS: One North Charles Street, Suite 1215, Baltimore, M land 21201
 ARTY'S ATTORNEY'S E-MAIL:._d_a_
                               vi_d-""'-led
                                         __.__ar_dl_a_w_._
                                                         co_m                                                                                ~
     Y DEMAND ?                      il Yes O No
RELATED CASE PENDING? Yes ŒINo       □                   If yes, Case#(s), ifknown:-------------1
    CIPATED LENGTH OF TRIAL:                                 hours or     2     days

                                                        PLEADING TYPE
                im Original                   O Administrative Appeal           O Appeal
        g Case: O Post-Judgment               O Amendment
         in an existin case ski Case Cate
                   IF NEW CASE: CASE CATEGORY/SUBCATEGORY (Check one box.)
  RTS
[Asbestos
  Assault and Battery
                               8O   Government
                                    Insurance
                                    Product Liability
                                                                 PUBLIC LAW
                                                                 O Attorney Grievance
                                                                                                           O Constructive Trust
                                                                                                           □Contempt
O Business and Commercial                                        O Bond Forfeiture Remission              O Deposition Notice
□ Conspiracy
O Conversion
                               PROPERTY
                               O Adverse Possession
                                                                 0 Civil Rights
                                                                 0 County/Mncpl Code/Ord
                                                                                                          0 Dist Ct Mtn Appeal
                                                                                                          O Financial
O Defamation                   8 Breach of Lease                 O Election Law                           O Grand Jury/Petit Jury
O False Arrest/Imprisonment
O Fraud
                               8 Detinue
                                 Distress/Distrain
                                 Ejectment
                                                                 O Eminent Domain/Condemn.
                                                                 O Environment
                                                                                                          O Miscellaneous
                                                                                                          O Perpetuate Testimony/Evidence
O Lead Paint - DOB of          O Forcible Entry/Detainer         O Error Coram Nobis                      O Prod. of Documents Req.
                                                                 0 Habeas Corpus
   Youngest Pit:
O Loss of Consortium
O Malicious Prosecution
                               O Foreclosure
                                 O Commercial
                                 O Residential
                                                                 O Mandamus
                                                                 O Prisoner Rights
                                                                                                          § Receivership
                                                                                                            Sentence Transfer
                                                                                                            Set Aside Deed
                                                                                                          0 Special Adm. - Atty
O Malpractice-Medical            O Currency or Vehicle           O Public Info. Act Records               O Subpoena Issue/Quash
O Malpractice-Professional       O Deed of Trust                 O Quarantine/Isolation                   0 Trust Established
O Misrepresentation              O Land Installments             O Writ of Certiorari                     O Trustee Substitution/Removal
O Motor Tort                     O Lien                                                                   O Witness Appearance-Compel
                                                                 EMPLOYMENT
   Negligence                    O Mortgage
8  Nuisance                      O Right of Redemption           □ADA
                                                                 O Conspiracy
                                                                                                          PEACE ORDER
                                                                                                          O Peace Order
il Premises Liability            O Statement Condo
O Product Liability            O Forfeiture of Property /        □EEO/HR                                  EQUITY
                                                                 □                                        O Declaratory Judgment
§
   Specific Performance          Personal Item                    FLSA
   Toxic Tort                  O Fraudulent Conveyance           0FMLA                                    O Equitable Relief
   Trespass                    O Landlord-Tenant                 O Workers' Compensation                  O Injunctive Relief
   Wrongful Death              O Lis Pendens                     O Wrongful Termination                   O Mandamus
CONTRACT                       O Mechanic's Lien
O Asbestos
O Breach
                               8 Ownership
                                 Partition/Sale in Lieu
                                                                 INDEPENDENT
                                                                 PROCEEDINGS
                                                                                                          OTHER
                                                                                                          O Accounting
                                                                                                          O Friendly Suit
   Business and Commercial     O Quiet Title                     O Assumption of Jurisdiction             D Grantor in Possession
   Confessed Judgment (Cont'd) O Rent Escrow                     O Authorized Sale                        O Maryland Insurance Administration
   Construction                O Return of Seized Property
~ Debt                         O Right of Redemption             O Attorney Appointment                   O Miscellaneous
O Fraud                        O Tenant Holding Over             O Body Attachment Issuance               O Specific Transaction
                                                                 O Commission Issuance                    O Structured Settlements
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                     IF NEW OR EXISTING CASE: RELIBF (Check All that Apply)
□Abatement
O Admini strative Action
                               0 Earnin gs Withholding
                               O Enrollment
                                                                  Iii Judgment-Interest
                                                                  O Judgment-Summary
                                                                                                      O Return of Property
                                                                                                      O Sale of Property
D Appointment of Receiver      O Expungement                      □Liability                          O Specific Performance
O Arbitration                  O Findings of Fact                 O Oral Examination                  O Writ-Error Coram Nobis
O Asset Determination
O Attachment b/f Judgment
                               O Foreclosure
                               O Injunction
                                                                  □Order
                                                                  O Ownership of Property
                                                                                                      O Writ-Execution
                                                                                                      0 Writ-Garnish Property
O Cease & Desist Order         O Judgment-Affidavit               O Partition of Property             0 Writ-Garnish Wages
0 Condemn Bldg                 fia Judgment-Attorney Fees         O Peace Order                       0 Writ-Habeas Corpus
O Contempt                     O Judgment-Confessed               O Possession                        O Writ-Mandamus
!!I Court Costs/Fees           O Judgment-Consent                 O Production of Records             O Writ-Possession
Iii Damages-Compensatory       O Judgment-Declaratory             O Quarantine/Isolation Order
O Damages-Punitive             O Judgment-Default                 O Reinstatement of Employment

Ifyou indicated Liability above, mark one of the following. This information is not an admission and may not be
used for any purpose other than Track Assignment.

D Liability is conceded.      O Liability is not conceded, but is not seriously in dispute.   Ill Liability is seriously in dispute.
             MONETARY DAMA GES (Do not include Attorney's Fees, Interest, or Court Costs)


  O Under $10,000                  0 $10,000 - $30,000           0 $30,000 - $100,000              il Over $100,000

  O Medical Bills $                           D WageLoss$                                O Property Damages $

                             ALTERNATIVE DISPUTE RESOLUTION INFORMA TION

 Is this case appropriate for referral to an ADR process under Md. Rule 17-101? (Check all that apply)
 A. Mediation        □ Yes lit No                            C. Settlement Conference ~Yes          No          □
 B. Arbitration     D Yes il No                              D. Neutral Evaluation     O Yes liJ No

                                                SPECIAL REQUIREMENTS

 O If a Spoken Language Interpreter is needed, check here and attach form CC-DC-041
 O If you require an accommodation for a disability under the Americans with Disabilities Act, check here and
   attach form CC-DC-049
                                    ESTIMA TED LENGTH OF TRIAL
With the exception ofBaltimore County and Baltimore City, please fill in the estimated LENGTH OF TRIAL.
                                             (Case wül be tracked accordingly)
                    O 1/2 day of trial or less                         O 3 days of trial time
                    O 1 day of trial time                              D More than 3 days of trial time
                    Œr 2 days of trial time

                    BUSINESSANDTECHNOLOGYCASEMANAGEMENTPROGRAM
 For al/jurisdictions,     ifBusiness and Technology track designation under Md. Rule 16-308 is requested, attach a
                              duplicate copy of complaint and check one of the tracks below.

             o   Expedited- Trial within 7 months                       O Standard - Trial within 18 months of
                     of Defendant's response                                         Defendant's response

                                           EMERGENCY RELIEF REQUESTED



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                               COMPLEX SCIENCE AND/OR TECHNOLOGICAL CASE
                                     MANAGEMENT PROGRAM (AST AR)


      FOR PURPOSES OF POSSIBLE SPECIAL ASSIGNMENT TO ASTAR RESOURCES JUDGES under
 Md. Rule 16-302, attach a duplicate copy of complaint and check whether assignment to an ASTAR is requested.

              D Expedited - Trial within 7 months                              D Standard - Trial within 18 months of
                         of Defendant's response                                         Defendant's response

IF YOU ARE FILING YOUR COMPLAINT IN BALTIMORE CITY, OR BALTIMORE COUNTY, PLEASE FILL OUT
THE APPROPRIATE BOX BELOW.

                      CIRCUIT COURT FOR BALTIMORE CITY (CHECK ONLY ONE)


 □   Expedited                     Trial 60 to 120 days from notice. Non-jury matters.

 □   Civil-Short                   Trial 210 days from first answer.


 □   Civil-Standard                Trial 360 days from first answer.


 □   Custom                          Scheduling order entered by individual judge.

 □   Asbestos                        Special scheduling order.

 □   Lead Paint                    Fill in: Birth Date of youngest plaintiff

 □   Tax Sale Foreclosures         Special scheduling order.


 □   Mortgage Foreclosures No scheduling order.




                                         CIRCUIT COURT FOR BALTIMORE COUNTY

 0    Expedited                Attachment Before Judgment, Declaratory Judgment (Simple), Administrative Appeals, District
  (Trial Date-90 days)         Court Appeals and Jury Trial Prayers, Guardianship, Injunction, Mandamus.

 0   Standard                  Condemnation, Confessed Judgments (Vacated), Contract, Employment Related Cases, Fraud and
  (Trial Date-240 days)        Misrepresentation, International Tort, Motor Tort, Other Personal Injury, Workers' Compensation
                               Cases.

 0  Extended Standard          Asbestos, Lender Liability, Professional Malpractice, Serious Motor Tort or Personal Injury Cases
  (Trial Date-345 days)        (medical expenses and wage loss of$100,000, expert and out-of-state witnesses (parties), and trial
                               of five or more days), State Insolvency.

 O   Complex                   Class Actions, Designated Toxic Tort, Major Construction Contracts, Major Product Liabilities,
   (Trial Date-450 days)       Other Complex Cases.




                   January 8,        2oJ/J
                            Date                                                             Signature of Counsel/ Party
      One North Charles Street, Suite 1215                                                  David C.M. Ledyard
                                SS                                                                 PriÏìïëd Name
           Baltimore, Maryland 21201
                      City, State, Zip




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DAPHNE CHEEKS,                               *    IN THE CIRCUIT COURT
5405 Bowleys Lane
Baltimore, Maryland 21206,                   *    FOR PRINCE GEORGE'S COUNTY

      Plaintiff(s),                          *    CIVIL DIVISION

              v.                             *
WASHINGTON METROPOLITAN                      *    Case No.: -------
AREA TRANSIT AUTHORITY ,
d/b/aWMA TA,                                 *
600 5TH Street, NW,
Washington, DC 20001,                        *
      Serve on: Resident Agent            *
      Patricia Y. Lee, General Counsel
      WASHINGTON METROPOLIT AN ARE A TRA NSIT AUTHORITY
      600 5th Street, NW
      Washington, DC 20001                *

      And                                 *

NATIONAL RAILROAD                         *
PASSENGER CORPORATION,
d/b/a AMTRAK ,                            *
1 Massachusetts A venue, NW
Washington, DC 20001,                    *

      Serve on: Resident Agent            *
      Eleanor D. Acheson, Esq.
      Chief Legal Officer, General Counsel & Corporate Secretary
      NATIONAL RAILROAD PASSENGER CORPORATION
      1 Massachusetts A venue, NW        *
      Washington, DC 20001,
                                         *
     Serve on: Resident Agent
     CT Corporation                      *
     1015 15th Street, NW, Suite 1000
     Washington, DC 20001                *

     And                                 *

MARYLAND TRANSIT ADMINISTRATION,
Six St. Paul Street, 12th Floor
Baltimore, MD 21202,            *




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        Serve On: Resident Agent           *
        Julie T. Sweeney, Acting Chief Counsel,
        Six St. Paul Street, 12th Floor    *
        Baltimore, Maryland 21202,
                                              *
        And
                                              *
PRINCE GEORGE'S COUNTY, MARYLAND,
COUNTY ADMINISTRATION BUILDING  *
14741 Governor Oden Bowie Drive
Upper Marlboro, Maryland 20772, *

        Serve On: Acting County Attorney      *
        Rhonda L. Weaver, Esq.,
        1301 McCormick Drive, Suite 4100 *
        Largo, Maryland 2077 4
                                              *
       And
                                              *
STATE OF MARYLAND,
c/o Nancy K. Kopp, State Treasurer            *
GOLDSTEIN TREASURY BUILDING
80 Calvert Street                             *
Annapolis, Maryland 21401,
                                              *
       Serve On: Resident Agent
       Brian E. Frosh, Esq.,                  *
       Attorney General of Maryland
       200 Saint Paul Place                   *
       Baltimore, Maryland 21202
                                              *
       Defendants.
*      *       *       *      *       *       *       *      *       *      *       *        *
                       COMPLAINT & REQUEST FOR JURY TRIAL
       Plaintiff(s), by and through his/her/their/its attorneys, David C.M. Ledyard and Ledyard
Law LLC, file(s) suit against Defendant(s), and state(s) the following in support thereof:
                                          THE PARTIES
       l.      Plaintiff(s) are/is and was/were, at all times relevant, a resident(s) of Baltimore
City, Maryland.
       2.      Defendant Washington Metropolitan Area Transit Authority ("WMATA") is a tri-
jurisdictional government agency operating under an interstate compact that does business in
Prince George's County, Maryland.


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        3.        National Railroad Passenger Corporation is a quasi-public corporation operating
across the United States of America that does business in Prince George's County, Maryland.
        4.        National Railroad Passenger Corporation does business as "Amtrak."
        5.        The Maryland Transit Admini stration ("MT A'') is a governmental agency of the
State of Maryland that does business in Prince George's County, Maryland.
        6.        Prince George's County, Maryland, is a county in the State of Maryland that does
business in Prince George's County, Maryland.
        7.        The State of Maryland is a governmental entity that does business in Prince
George's County, Maryland.
                                     JURISDICTION AND VENUE
        8.        This Court has personal jurisdiction over the Defendant(s) pursuant to Maryland
Code, Courts & Judicial Proceedings, § 6-103, because the cause of action arose in Maryland.
        9.        This Court has subject matter jurisdiction over the Defendant(s) pursuant to
Maryland Code, Courts & Judicial Proceedings,§ 4-401(1), because the amount in controversy is
greater than thirty-thousand dollars ($30,000.00).
        10.       Venue lies with the this Court pursuant to (a) Maryland Code, Courts & Judicial
Proceedings,§ 6-201(a), because Defendant(s) reside, carry on a regular business, are employed,
and habitually engage in a vocation in this County; (b) Maryland Code, Courts & Judicial
Proceedings, § 6-201(b) because there is more than one defendant, and there is no single venue
applicable to all defendants under Maryland Code, Courts & Judicial Proceedings, § 6-201(a), so
all may be sued in this County, which any one of them could be sued; and (c) Maryland Code,
Courts & Judicial Proceedings,§ 6-202(8), because this is a tort action based on negligence arising
in this County.
                                      Facts Common to All Counts
        11.       This action arises from injuries sustained by Plaintiff after she slipped on a wet step
at the ''New Carrollton Station" on January 12, 2017.
       12.        The ''New Carrollton Station" is located at 4700 Garden City Drive, New
Carrollton, Maryland 20785 and 4300 Garden City Drive, New Carrollton, Maryland 20785.
       13.        The New Carrollton Station serves Amtrak train traffic, WMATA Metrorail traffic,
and Maryland Transit Administration "MARC" train traffic.
       14.        The New Carrollton Station is owned, operated, managed, cleaned, and/or



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maintained by some or all of the Defendants Amtrak, WMA TA, MTA, the State of Maryland, and
Prince George's County.
        15.     On or about this date, Plaintiff was travelling from her home in Baltimore,
Maryland, to her office in Northern Virginia.
        16.     During the first leg of her journey, Plaintiff takes the MARC train to the New
Carrollton Station.
        17.     At the New Carrollton Station, Plaintiff alights the MARC train walks down some
steps and boards the WMA TA Metrorail and continues on her journey.
        18.     However, on this date, while Plaintiff was travelling down the steps in a safe,
reasonable, and cautious manner, she slipped and fell in water injuring herself (the "Occurrence").
        19.     After she slipped and fell, a station employee acknowledged that the area where she
slipped and fell frequently accumulated water, the station was aware of the issue, and the issue,
obviously, had not been corrected.
        20.     Prior to slipping and falling, Plaintiff could not see the water before stepping on it
- despite exercising due care and caution for her own safety. Nothing else was unusual or different
about the way Plaintiff was walking.
        21.     Nor had Plaintiff seen water in that area prior to that day.
        22.     At or near this date and time, the Premises was owned, operated, managed, and
maintained by Defendant(s).
        23.     At or near these dates and times, Plaintiff fell because the stairs were not marked
with any warning to Plaintiff nor had the Defendants taken any steps to fix the hazardous condition
(either on that day before Plaintiff fell or prior to that date).   Upon information and belief, prior
to falling, the steps were operated, managed, maintained, inspected, cleaned, and repaired by
Defendant(s). Upon information and belief, Plaintiff fell as a result of inadequate maintenance,
inspection, management, operation, cleaning, or repair by Defendants(s).
       24.     Plaintiff(s) suffered severe mental and physical injuries as a result of this
Occurrence.
       25.     Because Defendant(s) owned, operated, managed, cleaned, and maintained the
Premises, they, their agents, their servants, and/or their employees knew or should have known
that the Premises was operated, managed, cleaned, and maintained in an unsafe condition.
Additionally, Defendant(s), their agents, their servants, and/or their employees supervised and



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performed maintenance, cleaned up, and performed repairs in and around the Premises, and,
therefore, knew or should have known that the Premises was in a hazardous condition and/or
created the hazardous condition on the Premises.
       26.       However, Defendant(s), their agents, their servants, and/or their employees never
warned or attempted to warn Plaintiff(s) or any other invitee of the hazardous condition of the
Premises.


                      COUNT I - NEGLIGENCE AND NEGLIGENCE PER SE
                                        (Plaintiff{s) v. Defendant(s))

       27.       Plaintiff(s) incorporateïs) each of the foregoing paragraphs 1 through 26 as if the
same were set forth at length herein.
       28.       Defendant(s), its/their agents, servants, and/or employees owed Plaintiff(s) a duty
to use ordinary and reasonable care to maintain the Premises safe and free of hazards, and to protect
Plaintiff(s) against injury that Plaintiff(s) or any other person could not have discovered through
the use of reasonable care and which Defendant(s), its/their agents, servants, and/or employees
knew or should have known posed an unreasonable risk. This includes, but is not limited to,
protection from a hazardous condition created by Defendant(s), its/their agents, servants, and/or
employees on the Premises.
       29.       Defendant(s), its/their agents, servants, and/or employees breached their duties and
were negligent for the following reasons:
             a. Defendant(s), its/their agents, their servants, and/or their employees failed to ensure
                 that the Premises, were operated, managed, cleaned, repaired, and maintained as to
                 not cause injury to Plaintiff( s );
             b. Defendant(s), its/their agents, their servants, and/or their employees failed to
                 operate, manage, repair, clean, and maintain the Premises, in a reasonably safe,
                prudent, and hazard-free condition;
             c. Defendant(s), its/their agents, its/their servants, and/or its/their employees failed to
                take any precaution with respect to the hazardous condition caused by the Premises;
             d. Defendantís), its/their agents, its/their servants, and/or its/their employees failed to
                take heed to the notice of others regarding the condition of the Premises;




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              e. Defendant(s), its/their agents, its/their serv ants, and/or its/their employees failed to
                  offer sufficient and prompt repairs to the Premi ses; thus leavin g the Premi ses in a
                  hazardous condition;
             £    Defendant(s), its/their agents, its/their servants, and/or its/their employees failed to
                  properly train themselves, its/their agents, its/their servants, and/or its/their
                  employees responsible for the operation, management, cleaning, and maintenance
                  of the Premises;
             g. Defendant(s), its/their agents, its/their servants, and/or its/their employees failed to
                  properly supervise themselves, its/their agents, its/their servants, and/or its/their
                  employees responsible for operation, management, cleaning, and maintenance of
                  the Premises;
             h. Defendant(s), its/their agents, its/their servants, and/or its/their employees failed to
                  exercise reasonable and ordinary care to provide a safe ingress and egress from the
                  Premises with proper regard for the safety of Plaintiff(s) and others;
             1.   Defendant(s), its/their agents, its/their servants, and/or its/their employees failed to
                  perform their services with proper regard for the safety of Plaintiff(s) and others;
             J.   Defendant(s), its/their agents, its/their servants, and/or its/their employees
                  otherwise failed to exercise reasonable and ordinary care under the circumstances
                  then and there existing; and
             k. Defendant(s), its/their agents, its/their servants, and/or its/their employees failed to
                  use ordinary and reasonable care in obeying all State, local, county, city, and
                  municipal laws, ordinances, regulations, and codes; and
       30.        As a direct and proximate result of the negligence and lack of due care of
Defendant(s), its/their agents, servants, and/or employees, Plaintiff(s) has/have sustained legally
recognized damages.
       31.        All of Plaintiff(s)'s mjunes, damages, and losses were caused solely and
proximately by the negligence and lack of due care of Defendant(s), its/their agents, servants,
and/or employees with no negligence on the part of Plaintiff(s) contributing thereto.




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                              COUNT II - RESPOND EAT SUPERIOR
                                       (Plaintiffv. Defendant)

        32.     Plaintiff(s) incorporate(s) by reference Paragraphs 1 through 31, as if set forth fully
herein, and states further:
        33.     The agents or employees of the Defendant(s) responsible for the operation,
management, cleaning, construction, repair, and maintenance of the Premises were employed by,
or the agents of, the Defendant(s).
        34.     The employees or agents of the Defendant(s) committed these acts and omissions
while working for the Defendant(s), which resulted in personal injury to Plaintiff(s).
        35.     The agents or employees of the Defendant(s) committed these acts or omissions
within the scope of their employment or agency relationships with the Defendant(s) for which they
were acting in furtherance of the interests of the Defendant(s).
        36.    Defendant(s) is/are liable for the negligent acts and omissions of its/their agents,
servants, and/or employees while acting within the scope of their employment or agency
relationship with Defendant(s)
       37.     Plaintiff(s) suffered legally recognized damages as a direct and proximate result of
the negligence and lack of due care by Defendant(s)'s agents, servants, and/or employees and the
acts or omissions caused by Defendant(s)'s agents, servants, and/or employees.


       WHEREFORE, Plaintiff(s), individually and separately, demand(s) judgment against
Defendant(s), individually and separately and/or jointly and severally, in a sum in excess of
SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00), plus interest, costs, and all other relief
deemed necessary and just under the circumstances.




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                                         Respectfully Submitted,
                                         LEDYARD LAW LLC


                                              fl~
                                    By: -------
                                        David C.M. Ledyard
                                        CPF No.: 0912160165
                                        1 North Charles Street, Suite 1215
                                        Baltimore, Maryland 21201
                                        Phone: ( 41 O) 807-8077
                                        Fax:    (410) 807-8076
                                        david@ledyardlaw.com

                                         Counselfor Plaintiff(s)




                               REQUEST FOR JURY TRIAL
Plaintiff(s) request(s) a trial by jury on all issues raised herein.


                                             ß~
                                         David C.M. Ledyard




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